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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


  CATHERINE GRAVITT and
  TRAVIS GRAVITT,

          Plaintiffs

   v.                                                  Case. No. 1:17-cv-5428

  MENTOR WORLWIDE, LLC,                                JUDGE GARY FEINERMAN
  a foreign corporation,

          Defendant

 _____________________________________/


        PLAINTIFFS’ MEMORANDUM OF RECORD REFERENCES TO
    WHISTLEBLOWERS IN SUPPORT OF MOTION TO COMPEL DOCUMENTS
      RELATED TO WHISTLEBLOWERS AND MOTION FOR SANCTIONS


        Plaintiffs Catherine Gravitt and Travis Gravitt, in support of their Motion to Compel

Documents Related to Whistleblowers and Motion for Sanctions, and in compliance with the

Court’s Order during the proceedings held July 18, 2019 (transcript 29:21-25), provide the below

submission of references to multiple whistleblowers or to whistleblower witnesses other than the

Public Citizen whistleblower.

        As directed by the Court, the below list of references is limited only to references in the

record or in open court.




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       Date             Document/Event                         Reference (emphasis added)

    01/04/2018   Plaintiffs’ First Request to    Par. 47-53. All requests were intended to be plural:
                 Produce (Exh. To Doc. 56)       “any current or former Mentor employee or contractor”
    04/29/2018   Doc. 56 – Plaintiffs’ Motion    Language of pars. 47-53 quoted, repeated
                 to Compel
    04/29/2018   Doc. 57-12 – Decl. in Support   Senators Feinstein and Snowe Press Release:
                 of Doc. 56, Exh. 11             “We are writing to express our concern about new
                                                 allegations made by a former Mentor scientist
                                                 regarding data on the company’s silicone gel breast
                                                 implants. If true, it raises serious concerns about the
                                                 accuracy of the data your agency is using to consider
                                                 final approval for these implants.
                                                 We have written previously to express our concerns
                                                 about allegations from another former Mentor
                                                 employee.”
    08/23/2018   Doc. 90 – Hearing transcript    4:5-7: “It is impossible that Mentor did not believe or
                                                 understand that whistleblowers might be material
                                                 witnesses some day.”
    02/14/2019   Doc. 108 – Plaintiffs’ Motion   P.2: “Requests 47 through 53 address whistleblower
                 to Compel 20(b)(6)              issues including the identification of witnesses,
                 Witnesses1                      documents reflecting employees or contractors who
                                                 disclosed…”
                                                 P.3: “The last request, Request 53, sought documents
                                                 through which any current or former Mentor
                                                 whistleblower disclosed…”
    02/14/2019   D 109-1: August 23, 2018        (Doc. 90 above)
                 Hearing Transcript1
    02/14/2019   D 109-4: Notice of 30(b)(6)     P.4: “Mentor’s Document Retention Policies and
                 Deposition Regarding            Procedures … Mentor employee or consultant internal
                 Whistleblower Document          complaints …” (repeated 4 times)
                 Production
    02/14/2019   Doc. 109-6 – Composite          P.57: [Defense counsel in objection to scope of notice]
                 Exhibit of Counsel Emails       “I could see the topic of the retention of files related to
                                                 the specific letter to the FDA or ‘complaints regarding
                                                 testing or safety’ as it relates to this incident or his
                                                 personnel file …. But the following are not related…”

                                                 P.65 [Plaintiffs’ counsel in support of scope of notice]
                                                 “Mentor has had multiple whistleblowers/employees
                                                 who have information and communications related to
                                                 the rates of rupture and gel bleed disclosed to the
                                                 company…”



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    Document nos. 108 and 109 were filed with the Court but were withdrawn following what appeared at
    the time to be eleventh-hour compliance.
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                                           “Subtopic 4 goes directly to… retention of the
                                           personnel files. If it is your position that these
                                           employees were all fired and not truthful with regards
                                           to their statements about gel bleed and rupture, their
                                           personnel files become relevant…”

                                           “The seven RTPs deal with exactly that list – all
                                           documents through which any current or former
                                           Mentor employer (sic) or contractor purported to
                                           disclose or report to anyone…”
 05/13/2019   Doc.123 – Amended Notice     P.4: “Mentor’s Document Retention Policies and
              of 30(b)(6) Deposition       Procedures … Mentor employee or consultant internal
              Regarding Whistleblower      complaints …” (repeated 4 times)
              Document Production


                              CERTIFICATE OF SERVICE

       The undersigned certifies that a true and correct copy of the foregoing was served via

electronic mail to Defendant’s counsel of record at sherry.knutson@tuckerellis.com,

Dustin.Rawlin@tuckerellis.com, and brittany.weiss@tuckerellis.com on July 25, 2019.

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